                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
                                                       )
v.                                                     )       Criminal No. 3:10-00302
                                                       )       Judge Trauger
[3] JEMARCUS BILLINGTON                                )
                                                       )

                                             ORDER

       The defendant’s Motion to Strike The Government’s Response For Failure to Serve Copy

(Docket No. 194) is DENIED. However, it is true that the government’s reliance upon the

electronic filing system to serve a copy upon the defendant in prison was misplaced.

       It is hereby ORDERED that the United States Attorney shall send a copy of her

Response filed April 30, 2013 (Docket No. 180) to the defendant by certified mail, return receipt

requested, at the facility where he is presently housed. It is further ORDERED that the

defendant may file any reply to the Response by July 26, 2013, after which the court will either

reaffirm its prior ruling or revisit it, based upon the defendant’s reply.

       It is so ORDERED.

       ENTER this 25th day of June 2013.


                                                       ________________________________
                                                             ALETA A. TRAUGER
                                                               U.S. District Judge




 Case 3:10-cr-00302         Document 195         Filed 06/25/13       Page 1 of 1 PageID #: 569
